                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 1 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et ai




                                 Plaintiffs)
                                      v.                                                        Civil Action No.           2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Kathy BoOCkva~, Secretary of the Commonwealth
                                   Pennsylvania Department of State
                                   Office of the Secretary
                                   302 North Office Building, 401 North Street
                                   Harrisburg, PA 17120



           A lawsuit has been filed against you.

         Within 2] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                            &/(5.2)&2857

Date:

                                                                                                             CarinaLoushe
                                                                                                                    Signature of Clerk or Deputy Clerk
 06/30/2020
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 2 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966
                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (!))

           This summons for (name ofrndivrdual and title,      if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                    Ori (date)                           ; Or


          d I left the summons at the individual's residence or usual place of abode with („ame)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofr'ndiv;dua!)                                                                               who is
           designated by law to accept service of process on behalf of (name oforganr'Zarion)
                                                                                    On (date)                             or

          ~ I returned the summons unexecuted because                                                                                     or

          O Other (specify):




          My fees are $                            for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                            Printed name and tide




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                                Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 3 of 136


           AO 440 (Rev. 06/12) Summons in a Civil Action


                                                      UNITED STATES DISTRICT COURT
                                                                                              for the
                                                                         Western District of Pennsylvania


             DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                           Plaintrff(s)
                                                v.                                                         Civil Action No.            2:20-cv-966
                              KATHY BOOCKVAR, et al



                                          Defendants)


                                                                       SUMMONS IN A CIVIL ACTION

          TO: (Defendant's na,ne and address)             Adams County Board of Elections
                                                          c/o Angie Croue, Director of Elections and Voter Reg. or other person in charge
                                                          117 Baltimore Street
                                                          Gettysburg, PA 17325




                      A lawsuit has been fi led against you.

                   Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
          are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
          P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
          the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
          whose name and address are: Ronald L. Hicks, Jr., Esq.
                                           Porter Wright Morris &Arthur LLP
                                           6 PPG Place, 3rd Floor
                                           Pittsburgh, PA 15222



                 If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
          You also must file your answer or motion with the court.



                                                                                                               CLERK OF COURT
                                                                                                           &/(5.2)&2857
          Date:
                                                                                                                               Signature of Clerk ar Deputy Clerk

06/30/2020                                                                                                  CarinaLoushe
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 4 of 136


AO 440 (Rev. 06/12) Summons in a Civil fiction (Page 2)

Civil Action No.          2:20-cv-966
                                                        PROOF OF SERVICE
                       (This section should riot be fiCed with the court unless required by Fed. R. Civ. P. 4 (1))

           TI11S SUTY11T10T1S fOt' (name of individual and title, if any)

was received by me on (dace)


           ~ I personally served the summons oi~ the individual at (place)
                                                                                     On (date)                            ; Or


           ~ I left the summons at the individual's residence or usual place of abode with (na,ne)
                                                                       a person of suitable age and discretion who resides there,
           on (dale)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the swnmons on (name oftndivtduat)                                                                                who is
           designated by law to accept service of process on behalf of (name oforganiZarion)
                                                                                     On (dale)                             or

           ~ I returned the summons unexecuted because                                                                                     or

          ~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perj ury that this information is true,



Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                          Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 5 of 136


     AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                         for the
                                                                    Western District of Pennsylvania


       DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                     Plaintiffs)
                                           v.                                                        Civil Action No.           2:20-cv-966
                         KATHY BOOCKVAR, et al



                                    Defendants)


                                                                 SUMMONS IN A CIVIL ACTION

     TO: (DefendanCs name and address)             Allegheny County Board of Elections
                                                   c/o David Voye, Elections Division Manager or other person in charge
                                                   542 Forbes Avenue, Suite 604
                                                   Pittsburgh, PA 15219




                A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffls attorney,
    whose name and address are: Ronald L. Hicks, Jr., Esq.
                                     Porter Wright Morris &Arthur LLP
                                     6 PPG Place, 3rd Floor
                                     Pittsburgh, PA 15222



           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                                         CLERK OF COURT
                                                                                                           &/(5.2)&2857

    Date:
                                                                                                                         Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 6 of 136


AO 440 (Rev. 06/12) Summons in a Civii Action (Page 2)

 Civil Action No.         2:20-cv-966

                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Z))

           ~I'h1S SUmiT1017S fOT' (name of individual and tilde, if any)

was received by me on (dace)


           ~ I personally served the summons on the individual at (pia~e)
                                                                                    Ori (date)                            or

           ~ I left the swnmons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindividual)                                                                               who is
           designated by law to accept service of process on behalf of (name oforganiZar,on)
                                                                                    Ori (date)                            or

          O I returned the summons unexecuted because                                                                                    or

          ~ Other (spe~tfy):




          My fees are $                           for travel and $                       for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 7 of 136


  AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                   Plaintiffs)
                                        v.                                                        Civil Action No.           2:20-cv-966
                      KATHY BOOCKVAR, et al



                                 Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  To: (Defendant's name and address)             Armstrong County Board of Elections
                                                 c/o Jennifer Bellas, Director of Elections or other person in charge
                                                 450 E. Market Street
                                                 Kittanning, PA 16201




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK OF COURT


 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 8 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (!))

           This summons for (name of individual and title,     rf any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of indrvidua!)                                                                               who is
           designated by law to accept service of process on behalf of (name oforgani~arion)
                                                                                    On (dale)                             or

          ~ I returned the summons unexecuted because                                                                                     or

          ~ Other (spe~rfy):




          My fees are $                            for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perj ury that this information is true.



Date:
                                                                                                Server's signature




                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 9 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                   Plaintrff(s)
                                        v.                                                         Civil Action No.           2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  TO: (Defendant's name and address)              Beaver County Board of Elections
                                                  c/o Dorene Mandity, Director of Elections or other person in charge
                                                  810 Third Street
                                                  Beaver, PA 15009




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule ] 2 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT
                                                                                                           &/(5.2)&2857

  Date:
                                                                                                                       Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 10 of 136


AO 440 (Rev. 06/ I Z) Summons in a Civil Action (Page 2)

Civi] Action No.          2:20-cv-966
                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fecl. R. Civ. P. 4 (1))

           Th15 SUmmOriS fOT' (naryte of individual and title, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; Or


           ~ I Left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
           on (dare)                                ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (~anze ofrndivrdual)                                                                                who is
            designated by law to accept service of process on behalf of (na~~e oforganrZarion)
                                                                                      On (dote)                             or

               I returned the summons unexecuted because                                                                                    or

           ~ Other (spe~tfy):




           My fees are $                             for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                  Server's signatw~e



                                                                                              Printed name and true




                                                                                                  Server's address


Additional information regarding attempted service, etc:
                         Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 11 of 136


    AO 440 (Rev. 06/12) Summons in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                  Western District of Pennsylvania


      DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                     Plain[iff(s)
                                          v.                                                        Civil Action No.            2:20-cv-966
                        KATHY BOOCKVAR, et al



                                   Defendants)


                                                                 SUMMONS IN A CIVIL ACTION

    TO: (Defendant 's name and actctress)           Bedford County Board of Elections
                                                    c/o Debra Brown, Director of Elections or other person in charge
                                                    200 S. Juliana Street
                                                    Bedford, PA 15522




               A lawsuit has been filed against you.

             Within 2l days after service of this summons on you (not counting the day you received it) — or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
    whose name and address are: Ronald L. Hicks, Jr., Esq.
                                     Porter Wright Morris &Arthur LLP
                                     6 PPG Place, 3rd Floor
                                     Pittsburgh, PA 15222



           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                                          &/(5.2)&2857
                                                                                                         CLERK OF COURT


    Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                  Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 12 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.        2:20-cv-966
                                                       PROOF OF SERVICE
                      (This section shoulc! not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           Thls Summons for (name of individual and title, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                   on (date)                             ; Or


          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          CJ I served the summons on (name of individual)                                                                              WI10 1S

           designated by ]aw to accept service of process on behalf of (name oforganiZar;on)
                                                                                   Ori (date)                             or

          ~ I returned the summons unexecuted because                                                                                      or

          d Other (specify):




          My fees are $                           for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 13 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                Plaintiffs)
                                     v.                                                         Civil Action No.            2:20-cv-966
                   KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address) Berks County Board of Elections
                                              c/o Deborah Olivieri, Director or other person in charge
                                              633 Court Street, 1st Floor
                                              Reading, PA 19601




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                        &/(5.2)&2857
                                                                                                    CLERK  OF COURT


Date:
 06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signa[ure of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 14 of 136


AO 440 (Rev. 06/] 2) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           TI11S SUIT1Tri011s f0I' (name of individual and Lille,   if any)
was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                       Ori (dale)                            or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                         a person of suitable age and discretion who resides there,
           on (dare)                                ,and mailed a copy to the individual's last known address; or

           O I served the summons on (name of;nd;vtduaq                                                                                  who is
           designated by law to accept service of process on behalf of (name oforganiZariorr)
                                                                                       on (dare)                             or

           Q I returned the summons unexecuted because                                                                                     ; or

           Q Other (spe~rfy):




           My fees are $                            for travel and $                        for services, for a total of $        0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server's signature



                                                                                               Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 15 of 136


  AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                  Plain[iff(s)
                                        v.                                                        Civil Action No.             2:20-cv-966
                      KATHY BOOCKVAR, et al



                                 Defendan[(s)


                                                              SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)              Blair County Board of Elections
                                                 c/o Sarah Seymour, Director of Elections or other person in charge
                                                 423 Allegheny Street, Suite 047
                                                 Hollidaysburg, PA 16648




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK OF COURT


 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 16 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Ferl. R. Civ. P. 4 (1))

           Th1s summons for (name of individual and ti!!e, if any)

was received by me on (dare)

           ~ 1 personally served the summons on the individual at (place)
                                                                                   Ori (date)                           or

           ~ I left the summons at the individual's residence or usual place of abode with (norae)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          C7 I served the summons on (name ofindividual)                                                                            who is
           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                   017 (date)                           or

          ~ I returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




          My fees are $                           for travel and $                     for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature




                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 17 of 136


AO 440 (Rev. 06/]2) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                  for the
                                                             Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                               Plaintrff(s)
                                    v.                                                         Civil Action No.
                                                                                                                           2:20-cv-966
                   KATHY BOOCKVAR, et al



                              Defendants)


                                                           SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Bradford County Board of Elections
                                              c/o Renee Smithkors, Director of Elections and Voter Reg or other person in charge
                                              6 Court Street, Suite 2
                                              Towanda, PA 18848




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                   CLERK OF COURT

                                                                                                            &/(5.2)&2857
Date:
                                                                                                                   Signature of Clerk or Deputy Clerk

  06/30/2020                                                                                                 CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 18 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.          2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This Summons for (name of rndivrdual and title, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                    Ori (date)                           ; Ol'


           ~ I left the summons at the individual's residence or usual place of abode with (na~„e)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (na,ne of individual)                                                                          ,who is
           designated by law to accept service of process on behalf of (name oforgan~Zarion)
                                                                                    on (dare)                            ; or

          '~ I returned the summons unexecuted because                                                                                  or

          O Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $           0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 19 of 136



  AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plaintrff(s)
                                        v.                                                        Civil Action No.           2:20-cv-966
                      KATHY BOOCKVAR, et al



                                 Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address) BuCkS County Board of EleCtlonS
                                    c/o Thomas Frietag, Acting Director of Election/Registration or other person in charge
                                    55 E. Court Street
                                    Doylestown, PA 18901




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT

                                                                                                           &/(5.2)&2857
 Date:
                                                                                                                       Signature of Clerk or Deputy Clerk


06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 20 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.       2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be fried with the court unless required by Fed. R. Ciu P. 4 (l))

           ThtS SUmmOns for (name of individual and title, if any)

was received by me on (dare)

          ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or


          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dare)                                ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindivtdual)                                                                                 who is
           designated by law to accept service of process on behalf of (name ofoYganr'zar;on)
                                                                                    Ott (dale)                             or

          ~ I returned the summons unexecuted because                                                                                      or

          ~ Other (spe~tfy):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 21 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                Plaintiffs)
                                     v.                                                         Civil Action No.              2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendanl(s)


                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)            Butler County Board of Elections
                                              c/o Director of Elections and Voter Reg. or other person in charge
                                              124 W. Diamond Street, Floor LL
                                              Butler, PA 16003




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                            &/(5.2)&2857

Date:
                                                                                                             CarinaLoushe
                                                                                                                    Signature
                                                                                                                      of            Clerk or Deputy Clerk
 06/30/2020
 'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 22 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (1))

           Th1s summons for (name of individual and title, if any)

was received by me on (dare)


           O I personally served the summons on the individual at (place)
                                                                                   Ori (date)                           or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name of r'ndrviduol)                                                                           Who 1S

           designated by law to accept service of process on behalf of (name oforgoniZar;on)
                                                                                   Ori (date)                           or

          f7 I returned the summons unexecuted because                                                                                 or

          C] Other (specify):




          My fees are $                           for travel and $                     for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                           Panted name and Title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                            Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 23 of 136



       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                   UNITED STATES DISTRICT COURT
                                                                                           for the
                                                                     Western District of Pennsylvania


          DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                        Plaintiffs)
                                             v.                                                        Civil Action No.          2:20-cv-966
                           KATHY BOOCKVAR, et al



                                      Defendants)


                                                                   SUMMONS IN A CIVIL ACTION

       To: (Defendant's „ame and address) Cambria County Board of Elections
                                          c/o Shirley Crowl, Driector of Elections/Chief Registrar or other person in charge
                                          200 S. Center Street
                                          Ebensburg, PA 15931




                   A lawsuit has been filed against you.

                Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
       are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
       P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
       the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
       whose name and address are: Ronald L. Hicks, Jr., Esq.
                                        Porter Wright Morris &Arthur LLP
                                        6 PPG Place, 3rd Floor
                                        Pittsburgh, PA 15222



              If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
       You also must file your answer or motion with the court.



                                                                                                           &/(5.2)&2857
                                                                                                            CLERK OF COURT


       Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of C(erk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 24 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.           2:20-cv-966
                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fec~ R. Civ. P. 4 (1))

           Th1S SUri11T10riS f01' (name of indrvidua! and title, if any)

was received by me on (dare)

           Q I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dared                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name ofrnctr'vr'duai)                                                                        ,who is
           designated by law to accept service of process on behalf of (name oforgar,;zarton)
                                                                                    on (dare)                            ; or

          ~ I returned the summons unexecuted because                                                                                  or

          Q Other (spec{fy):




          My fees are $                            for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address

Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 25 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                Plarntrff(s)
                                     v.                                                         Civil Action No.         2:20-cv-966
                   KATHY BOOCKVAR, et al



                               Defendanl(s)


                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Cameron County Board of Elections
                                               c/o Brenda G. Munz, Director of Elections or other person in charge
                                               20 5th Street
                                               Emporium, PA 15834




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must fi le your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
                                                                                                                    Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 26 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                      (This section shou[tl not be filed with the court unless required by Fed. R. Civ. P. 4 (C))

           This Summons for (name of individual and title, if any)

was received by me on (date)

           f~ I personally served the summons on the individual at (place)
                                                                                   On (dale)                             or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          Q I served the summons on (name ofrndtvrdual)                                                                              who is
           designated by law to accept service of process on behalf of (name oforganiZar;on)
                                                                                   Ori (date)                            or

          ~ 1 returned the summons unexecuted because                                                                                  ; or

          O Other (spec fy):




          My fees are $                           for travel and $                      for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 27 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                   Plaintiffs)
                                        v.                                                         Civil Action No.           2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  TO: (Defendant's name and address)             Carbon County Board of Elections
                                                 c/o Lisa Dart, Director of Elections or other person in charge
                                                 76 Susquehanna Street
                                                 Jim Thorpe, PA 18229




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK  OF COURT


  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 28 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with tJie court unless required by Fed. R. Civ. P. 4 (l))

           Th1S Summons for (name of individual and Title, if any)

was received by me on (dare)


           Q I personally served the summons on the individual at (place)
                                                                                    Ori (date)                            or

           d I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (date)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name ofindtvr'dual)                                                                        . who is
           designated by law to accept service of process on behalf of (name ofoYganizarion)
                                                                                    Ori (dale)                            or

           ~ I returned the summons unexecuted because                                                                                or

           ~ OtheY (specify):




           My fees are $                           for travel and $                      for services, for a total of $        0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 29 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                  Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                    Plaintiffs)
                                                                                                   Civil Action No.
                                         v.
                                                                                                                               2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                                SUMMONS IN A CIVIL ACTION

   To: (Defendant's name and address) Centre County Board of Elections
                                      c/o Joyce E. McKinley, Director of Elections or other person in charge
                                      420 Holmes Street
                                      Bellefonte, PA 16823




               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
   whose name and address are: Ronald L. Hicks, Jr., Esq.
                                    Porter Wright Morris &Arthur LLP
                                    6 PPG Place, 3rd Floor
                                    Pittsburgh, PA 15222



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                        CLERK OF COURT


   Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                  Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 30 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           Th1s summons for (name of individual and title, if any)
was received by me on (dare)

           ~ I personally served the summons on the individual at (p/ace)
                                                                                    On (dale)                             or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (nanTe ofrndivrduQ!)                                                                          who is
           designated by law to accept service of process on behalf of (name oforganizarion)
                                                                                    Ori (date)                            or

          O I returned the summons unexecuted because                                                                                 or

          ~ Other (specify):




           My fees are $                           for travel and $                      for services, for a total of $        0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 31 of 136



 AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                    for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                 Plaintrff(s)
                                      v.                                                         Civil Action No.             2:20-cv-966
                     KATHY BOOCKVAR, et al



              --_         - _
                                Defendan[(s)


                                                             SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)              Chester County Board of Elections
                                                c/o Sandra Burke, Director, Chester Co. Voter Services or other person in charge
                                                601 Westtown Road, Suite 150
                                                West Chester, PA 19380




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                     CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 32 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.        2:20-cv-966

                                                        PROOF OF SERVICE
                      (This section should riot be filet! with the court unless required by Fed R. Civ. P. 4 (1))

           Thts SummOYls fOP (Warne of individual and title, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                   on (date)                             ; or


          Q I left the summons at the individual's residence or usual place of abode with (~~ame)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of individual)                                                                               who is
           designated by law to accept service of process on behalf of (name o~oYga~~tzurto~z)
                                                                                   Ori (date)                             or

          ~ I returned the summons unexecuted because                                                                                     or

          ~ Other (specify):




          My fees are $                           for travel and $                     for services, for• a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 33 of 136


   AO 440 (Rev. 06/12) Summons in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                    Plaintiffs)
                                         v.                                                        Civil Action No.             2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

   TO: (Defendanl'sname and address) Clarion County Board of Elections
                                                  c/o Cindy Callihan, Director of Elections and Voter Reg. or other person in charge
                                                  330 Main Street, Room 104
                                                  Clarion, PA 16214




              A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
   whose name and address are: Ronald L. Hicks, Jr., Esq.
                                    Porter Wright Morris &Arthur LLP
                                    6 PPG Place, 3rd Floor
                                    Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                        CLERK  OF COURT
                                                                                                          &/(5.2)&2857

  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 34 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be ftled with the court unless required by Fed. R. Ciu P. 4 (l))

           This summons fOr (name of individual and ~i~le,    if any)

was received by me on (dare)

           ~] I personally served the summons on the individual at (place)
                                                                                   Otl (date)                           ; OT


          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oft„drv~dual)                                                                               who is
           designated by law to accept service of process on behalf of (name oforganiZar~on)
                                                                                   on (dare)                             or

          ~ I returned the summons unexecuted because                                                                                    or

          O Other (spec fy):




          My fees are $                           for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 35 of 136



  AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                   Plaintiffs)
                                        v.                                                        Civil Action No.              2:20-cv-966
                      KATHY BOOCKVAR, et al



                                  Defendanl(s)


                                                               SUMMONS IN A CIVIL ACTION

  TO: (Defendant's name and address)             Clearfield County Board of Elections
                                                 c/o Dawn E. Graham, Director of Elections or other person in charge
                                                 212 E. Locust Street
                                                 Clearfield, PA 16830




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK OF COURT


  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 36 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           TI11S SU1T11T10riS fOT (name of individual and title,   if any)
was received by me on (dare)

           ~ I personally served the summons on the individual at (pace)
                                                                                      OTl (date)                            ; Or


           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name of tndtvidual)                                                                                 who is
           designated by law to accept service of process on behalf of (name oforgan;zarton)
                                                                                      on (date)                              or

           O I returned the summons unexecuted because                                                                                       or

          ~ Other (spe~tfy):




           My fees are $                           for travel and $                        for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                               Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 37 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                   Plainliff(s)
                                        v.                                                         Civil Action No.          2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  TO: (Defendant's name and address) Clinton County Board of Elections
                                                  c/o Maria Boileau, Director of Elections and Voter Reg. or other person in charge
                                                  2 Piper Way, Suite 309
                                                  Lockhaven, PA 17745




              A lawsuit has been filed against you.

           Within 2l days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT
                                                                                                           &/(5.2)&2857

  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Srgnalure of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 38 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (1))

           ThIS SU171mOriS fOC (name of individual and title, if any)

was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                    On (date)                             or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name oftndtvidual)                                                                               who is
           designated by law to accept service of process on behalf of (name oforgantZarion)
                                                                                    Ori (date)                            or

          ~ I returned the summons unexecuted because                                                                                    or

          ~ Other (spe~tfy):




           My fees are $                           for travel and $                      for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address

Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 39 of 136



    AO 440 (Rev. 06/12) Summons in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                  Western District of Pennsylvania


      DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                    Plaintiffs)
                                         v.                                                         Civil Action No.          2:20-cv-966
                        KATHY BOOCKVAR, et al



                                   UeJendant(s)


                                                                SUMMONS IN A CIVIL ACTION

   To: (Defendant's name and address) Columbia County Board of Elections
                                      c/o Matthew Repasky, Director of Voter Services or other person in charge
                                      11 W. Main Street
                                      Bloomsburg, PA 17815




               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
   whose name and address are: Ronald L. Hicks, Jr., Esq.
                                    Porter Wright Morris &Arthur LLP
                                    6 PPG Place, 3rd Floor
                                    Pittsburgh, PA 15222



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                                        CLERK OF COURT
                                                                                                           &/(5.2)&2857

   Date:
                                                                                                                        Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 40 of 136


AO 440 (Rev. 06/12) Summons in a Civii Action (Page 2)

Civil Action No.         2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless rec~uirecl by Fed. R. Civ. P. 4 (1))

           This Summons fOr (name of individual and title, if any)

was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                   on (dace)                            ; or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dace)                               ,and mailed a copy to the individual's last known address; or

          D I served the summons on (name of,'nd~vidual)                                                                              who is
           designated by law to accept service of process on behalf of (name oforgantZatton)
                                                                                   on (date)                             or

          C7 I returned the summons unexecuted because                                                                                   or

          ~ Other (specify):




          My fees are $                           for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                               Server's signature



                                                                                           Printed name and title




                                                                                               Server's address

Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 41 of 136


    AO 440 (Rev. 06/12) Summons in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                  Western District of Pennsylvania


      DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                    Plarnliff(s)
                                         v.                                                         Civil Action No.
                                                                                                                               2:20-cv-966
                        KATHY BOOCKVAR, et al



                                   Defendants)


                                                                SUMMONS IN A CIVIL ACTION

   TO: (Defendant's name and address)              Crawford County Board of Elections
                                                   c/o Rebecca Little, Driector of Voter Services or other person in charge
                                                   903 Diamond Park
                                                   Meadville, PA 16335




               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
   whose name and address are: Ronald L. Hicks, Jr., Esq.
                                    Porter Wright Morris &Arthur LLP
                                    6 PPG Place, 3rd Floor
                                    Pittsburgh, PA 15222



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                                        CLERK OF COURT
                                                                                                           &/(5.2)&2857

   Date:

                                                                                                            CarinaLoushe
                                                                                                                        Signature of Clerk or Deputy Clerk
06/30/2020
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 42 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fec~G R. Civ. P. 4 (1))

           Thls Summons fOr (name of individual and title, rf any)
was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or

           ~ I left the summons at the individual's residence or usual place of abode with name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           O I served the summons on (name of;ndividua!)                                                                            who is
           designated by law to accept service of process on behalf of (name oforganizarion)
                                                                                    OT1 (date)                             OC


           O I returned the summons unexecuted because                                                                                  or

           ~ Other (spec):




           My fees are $                           for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 43 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                  for the
                                                             Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                               Plarntrff(s)
                                     v.                                                        Civil Action No.           2:20-cv-966
                   KATHY BOOCKVAR, et al



                              Defendants)


                                                           SUMMONS IN A CIVIL ACTION

TO: (Defendant 's name and address)           Cumberland County Board of Elections
                                              c/o Bethany Salzarulo, Director of Elections or other person in charge
                                              1601 Ritner Highway
                                              Carlisle, PA 17013




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federa] Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffls attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                            &/(5.2)&2857

Date:

                                                                                                             CarinaLoushe
                                                                                                                    Signature of Clerk or Deputy Clerk
  06/30/2020
 'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 44 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                      PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed R. Ciu P. 4 (1))

           This Summons for (name of individual and tile, if any)
was received by me on (dore)

           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

           CJ I served the summons on (name of~ndtvidua!)                                                                         ,who is
           designated by law to accept service of process on behalf of (name oforganr'Zarton)
                                                                                    on (date)                            ; or


           ~ I returned the summons unexecuted because                                                                                 or


          ~ Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 45 of 136


   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                   Plaintiffs)
                                        v.                                                         Civil Action No.            2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendanl(s)


                                                               SUMMONS IN A CIVIL ACTION

  To: (Defendant's name and address) Dauphin County Board of Elections
                                     c/o Gerald Feaser, Director of Elections &Registration or other person in charge
                                     2 S. 2nd Street
                                     Harrisburg, PA 17101




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK  OF COURT


  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 46 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (1))

           Th1s Summons for (name of individual and !idle, if any)
was received by me on (dare)

          O I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or

          Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dare)                                ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftndivtduai)                                                                                 who is
           designated by law to accept service of process on behalf of (»ame oforgantZar;on)
                                                                                    Ori (date)                             or

          ~ I returned the summons unexecuted because                                                                                      or

          ~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                            Printed name and ti!!e




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                          Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 47 of 136


     AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                        for the
                                                                   Western District of Pennsylvania


       DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                      Plaintiffs)
                                           v.                                                        Civil Action No.          2:20-cv-966
                         KATHY BOOCKVAR, et al



                                 --     ---
                                    Defendant(s)


                                                                 SUMMONS IN A CIVIL ACTION

     TO: (Defendant's name and address) Delaware County Board of Elections
                                                    c/o Laureen Hagan, Chief Clerk, Elections Bureau or other person in charge
                                                    201 W. Front Street
                                                    Media, PA 19063




                A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
    whose name and address are: Ronald L. Hicks, Jr., Esq.
                                     Porter Wright Morris &Arthur LLP
                                     6 PPG Place, 3rd Floor
                                     Pittsburgh, PA 15222



           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                                          CLERK  OF COURT
                                                                                                           &/(5.2)&2857

    Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                  Signature of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 48 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.        2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Ciu P. 4 ([))

           TI1is SUmmOns for (name of individual and title, if any)

was received by me on (dare)

           O 1 personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           ~7 I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name oftndtvtduat)                                                                            who is
           designated by law to accept service of process on behalf of (name oforgan~Zar;on)
                                                                                    on (date)                             or

          ~ I returned the summons unexecuted because                                                                                  or

          C] Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                          Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 49 of 136



      AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                         for the
                                                                    Western District of Pennsylvania


        DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                      Plaintiffs)
                                           v.                                                         Civil Action No.            2:20-cv-966
                          KATHY BOOCKVAR, et al



                                     Defendants)


                                                                  SUMMONS IN A CIVIL ACTION

     TO: (Defendant's name and address) Elk County BoBfd Of EleCtlOns
                                        c/o Kimberly S. Frey, Director or other person in charge
                                        300 Center Street
                                        Ridgeway, PA 15853




                 A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
     whose name and address are: Ronald L. Hicks, Jr., Esq.
                                      Porter Wright Morris &Arthur LLP
                                      6 PPG Place, 3rd Floor
                                      Pittsburgh, PA 15222



            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
     You also must file your answer or motion with the court.



                                                                                                           CLERK OF COURT
                                                                                                           &/(5.2)&2857

     Date:
                                                                                                                           Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 50 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                      PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (!))

           Thls Summons fOP (name of individual and tile, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    Ori (date)                            or

           Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name oftndivtdupi)                                                                          ,who is
           designated by law to accept service of process on behalf of (name oforgani2arion)
                                                                                    on (dare)                            ; or

          Q I returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address

Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 51 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                    for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                 Plainliff(s)
                                      v.                                                        Civil Action No.            2:20-cv-9662:20-cv-966
                    KATHY BOOCKVAR, et al



                                Defendants)


                                                             SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)              Erie County Board of Elections
                                                c/o Tonia Fernandez, Election Supervisor or other person in charge
                                                140 W. 6th street, Room 112
                                                Erie, PA 16501




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffls attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                        &/(5.2)&2857
                                                                                                     CLERK  OF COURT


Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 52 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (I))

           Thts SUmmOris fOC (name of individual and lrtle, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindivrdua!)                                                                            ,who is
           designated by law to accept service of process on behalf of (name oforgantZarion)
                                                                                    OIl (date)                            ; Or


          ~ I returned the summons unexecuted because                                                                                   ; or

          ~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                           Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 53 of 136



       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                  UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                     Western District of Pennsylvania


         DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                       Plaintiffs)
                                            v.                                                         Civil Action No.            2:20-cv-966
                           KATHY BOOCKVAR, et al



                                      Defendants)


                                                                   SUMMONS IN A CIVIL ACTION

      To: (Defendant's name and address) Fayette County Board of Elections
                                                     c/o Larry Blosser, Director or other person in charge
                                                     22 E. Main Street
                                                     Uniontown, PA 15401




                  A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
      are the United States or a United States agency, or an offtcer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
      whose name and address are: Ronald L. Hicks, Jr., Esq.
                                       Porter Wright Morris &Arthur LLP
                                       6 PPG Place, 3rd Floor
                                       Pittsburgh, PA 15222



             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                                           &/(5.2)&2857
                                                                                                           CLERK OF COURT


      Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of Clerk or Deputy Clerk
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 54 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                    PROOF OF SERVICE
                     (This section should not befiled with the court unless required by Fed. R. Ciu P. 4 (1))

           Th1s summons foC (name of individual and title, if any)
was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    On (date)                            ; Or

           Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name oftndtvidual)                                                                           who is
           designated by law to accept service of process on behalf of (name oforgan~Zarton)
                                                                                    on (date)                             or

          Q I returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




          My fees are $                            for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 55 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                Plaintiffs)
                                     v.                                                         Civil Action No.          2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendant (s)


                                                            SUMMONS IN A CIVIL ACTION

TO: (Defendant 's name and address)           Forest County Board of Elections
                                              c/o Jean Ann Hitchcock, Driector of Elections and Voter Reg. or other person in charge
                                              526 Elm Street, Unit #3
                                              Tionesta, PA 16353




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                       &/(5.2)&2857
                                                                                                    CLERK OF COURT


Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 56 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Ciu P. 4 (1))

           Th1s summons for (name ofindividual and ~i~le, ifany)
was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (date)                              ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of tndtvtduai)                                                                           who is
           designated by law to accept service of process on behalf of (name ojorganrZarion)
                                                                                    on (date)                             or

          7 I returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                          Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 57 of 136



      AO 440 (Rev. 06!12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                         for the
                                                                    Western District of Pennsylvania


        DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                      Plaintiffs)
                                           v.                                                        Civil Action No.           2:20-cv-966
                         KATHY BOOCKVAR, et al



                                    Defendants)


                                                                 SUMMONS IN A CIVIL ACTION

     TO: (Defendant's na,ne and address) Franklin County Board of Elections
                                                    c/o Jennie Aines, Director or other person in charge
                                                    2 North Main Street
                                                    Chambersburg, PA 17201




                 A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
    whose name and address are: Ronald L. Hicks, Jr., Esq:
                                     Porter Wright Morris &Arthur LLP
                                     6 PPG Place, 3rd Floor
                                     Pittsburgh, PA 15222



           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                                          CLERK OF COURT
                                                                                                           &/(5.2)&2857
    Date:
                                                                                                                          Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 58 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.        2:20-cv-966
                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Th1s Summons foC (name of rndinidual and title, rf any)

was received by me on (dare)


           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

               I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           C7 I served the summons on (name oftndivtdual)                                                                              who is
           designated by law to accept service of process on behalf of (name oforganiZarlon)
                                                                                    on (date)                             or

           ~ I returned the summons unexecuted because                                                                                    or

           O Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature




                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                           Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 59 of 136



       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                  UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                     Western District of Pennsylvania


         DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                       Plaintiffs)
                                            v.                                                         Civil Action No.           2:20-cv-966
                           KATHY BOOCKVAR, et al



                                      Defendants)


                                                                   SUMMONS IN A CIVIL ACTION

      To: (Defendant's name and address)             Fulton County Board of Elections
                                                     c/o Karen Hann-McFadden, Director of Elections or other person in charge
                                                     116 W. Market Street, Suite 205
                                                     McConnelisburg, PA 17233




                  A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
      whose name and address are: Ronald L. Hicks, Jr., Esq.
                                       Porter Wright Morris &Arthur LLP
                                       6 PPG Place, 3rd Floor
                                       Pittsburgh, PA 15222



             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                                           CLERK OF COURT
                                                                                                           &/(5.2)&2857

      Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 60 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Tllls SUri1ri10riS fOP (name of individual and lisle,   if any)
was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                      on (dare)                            ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           Q I served the summons on (name ofindtv~dual)                                                                             who is
           designated by law to accept service of process on behalf of (name oforganiZarton)
                                                                                      On (date)                             or

           I~ I returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




           My fees are $                           for travel and $                       for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                  Server's signature



                                                                                              Printed name and title




                                                                                                  Server's address


Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 61 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                    for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                 Plaintrff(s)
                                     v.                                                         Civil Action No.            2:20-cv-966
                    KATHY BOOCKVAR, et al



                                Defendants)

                                                             SUMMONS IN A CIVIL ACTION

TO: (Defendant's      name andactc[ress) Greene County Board of Elections
                                         c/o Tina Kiger, Director of Elections or other person in charge
                                         Room 102 County Office Building
                                         93 E. High Street
                                         Waynesburg, PA 15370



            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffls attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                                           &/(5.2)&2857
                                                                                                     CLERK OF COURT


Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 62 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R Civ. P. 4 (l))

           Th1s summons for (name of individual and title, if any)
was received by me on (dare)


           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or

           C7 I left the summons at the individual's residence or usual place of abode with gnome)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name oftndvtdua!)                                                                              who is
           designated by law to accept service of process on behalf of (name oforganiZar~o„)
                                                                                    Ori (dale)                             or

          Q I returned the summons unexecuted because                                                                                   or

          Q Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                             Prinled name and Lille




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 63 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                 Plaintiffs)
                                      v.                                                        Civil Action No.              2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)


                                                             SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)             Huntingdon County Board of Elections
                                               c/o Tammy Thompson, Elections Coordinator or other person in charge
                                               223 Penn Street
                                               Huntingdon, PA 16652




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                     CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 64 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Ciu P. 4 (1))

           Th15 SUrilrilOriS fOP (name of indivrdua! and title,   if any)
was received by me on (dare)

          ~ I personally served the summons on the individual at (place)
                                                                                     on (date)                            or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                       a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of individual)                                                                              WIlO 1S

           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                     on (date)                            or

          ~ I returned the summons unexecuted because                                                                                   . or

          17 Other (spec;~y):




          My fees are $                           for travel and $                       for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 65 of 136



 AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plainliff(s)
                                       v.                                                        Civil Action No.             2:20-cv-966
                     KATHY BOOCKVAR, et al



                                Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address) Indiana County Board of Elections
                                                 c/o Debra Streams, Director or other person in charge
                                                 825 Philadelphia Street
                                                 Indiana, PA 15701




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                        &/(5.2)&2857
                                                                                                      CLERK OF COURT


 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 66 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.        2:20-cv-966
                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (1))

           This Summons for (name of individual and title, rf any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name of individual)                                                                              who is
           designated by law to accept service of process on behalf of (name oforganiZarion)
                                                                                    on (dare)                             or

          O I returned the summons unexecuted because                                                                                    ; or

          ~ Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                          Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 67 of 136



     AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                         for the
                                                                   Western District of Pennsylvania


        DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                      Plaintiffs)
                                           v.                                                        Civil Action No.           2:20-cv-966
                         KATHY BOOCKVAR, et al



                                    Defendants)


                                                                  SUMMONS IN A CIVIL ACTION

     To: (Defendant's      name and address) Jefferson County Board of Elections
                                             c/o Karen Lupone, Chief Clerk or other person in charge
                                             155 Main Street
                                             Brookville, PA 15825




                 A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
     whose name and address are: Ronald L. Hicks, Jr., Esq.
                                      Porter Wright Morris &Arthur LLP
                                      6 PPG Place, 3rd Floor
                                      Pittsburgh, PA 15222



            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
     You also must file your answer or motion with the court.


                                                                                                           &/(5.2)&2857
                                                                                                          CLERK OF COURT


     Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                  Signature of Clerk or Deputy Clerk
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 68 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed R. Ciu P. 4 (l))

           Thts SummOris fOP (name of individual and title,    if any)
was received by me on (done)

           ~ I personally served the summons on the individual at (place)
                                                                                    On (date)                             or

           Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name ofrnd;vrdua~)                                                                              who is
           designated by law to accept service of process on behalf of (name oforgan~Zarton)
                                                                                    Ori (date)                            OC


          ~ I returned the summons unexecuted because                                                                                   ; or

          ~ Other (Spe~tfy):




          My fees are $                            for travel and $                      for services, for a total of $        0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 69 of 136


   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                   Plarntiff(s)
                                        v.                                                         Civil Action No.         2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  TO: (Defendant's name         and address) Juniata County Board of Elections
                                             c/o Eva Weyrich, Director of Elections and Voter Reg. or other person in charge
                                             Courthouse -Bridge and Main Streets
                                             Mifflintown, PA 17059




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT
                                                                                                           &/(5.2)&2857

  Date:
                                                                                                                       Signature of Gerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 70 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Thls Summons for (name of individual and trt/e, rf any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

          Q I served the summons on (name of individual)                                                                               who is
           designated by law to accept service of process on behalf of (name oforgantZarion)
                                                                                    Ori (date)                            or

          ~ I returned the summons unexecuted because                                                                                     or

          O Other (spe~rfy):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                            Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 71 of 136



       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                   UNITED STATES DISTRICT COURT
                                                                                           for the
                                                                     Western District of Pennsylvania


          DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                        Plaintiffs)
                                             v.                                                        Civil Action No.           2:20-cv-9662:20-cv-966
                           KATHY BOOCKVAR, et al



                                      Defendants)


                                                                    SUMMONS IN A CIVIL ACTION

       TO: (Defendant's name and address) Lackawanna County Board of Elections
                                                      c/o Marion Medalis, Director, Department of Elections or person in charge
                                                      123 Wyoming Avenue, 2nd Fioor
                                                      Scranton, PA 18503




                   A lawsuit has been filed against you.

                Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
       are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
       P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
       the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
       whose name and address are: Ronald L. Hicks, Jr., Esq.
                                        Porter Wright Morris &Arthur LLP
                                        6 PPG Place, 3rd Floor
                                        Pittsburgh, PA 15222



              If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
       You also must file your answer or motion with the court.



                                                                                                           &/(5.2)&2857
                                                                                                            CLERK OF COURT


       Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 72 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.        2:20-cv-966

                                                           PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Thls SutTimOnS fOC (name of rndivrdunl and title, if any)

was received by me on (dare)


           C] I personally served the summons on the individual at (place)
                                                                                    Ori (date)                            or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dare)                                ,and mailed a copy to the individual's last known address; or

          f~ I served the summons on (name ofrndividual)                                                                              who is
           designated by law to accept service of process on behalf of (name oforganiZarton)
                                                                                    on (dare)                             or

          ~ I returned the summons unexecuted because                                                                                   ; or

          ~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server 's signatw~e




                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                           Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 73 of 136



       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                   UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                     Western District of Pennsylvania


         DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                       Plainliff(s)
                                            v.                                                         Civil Action No.           2:20-cv-966
                           KATHY BOOCKVAR, et al



                          ---
                                      Defendant(s)


                                                                   SUMMONS IN A CIVIL ACTION

      TO: (Defendant's name and address) Lancaster County Board of Elections
                                                      c/o Randall Wenger, Chief Clerk-Board of Elections or other person in charge
                                                      150 N. Queen Street, Suite 117
                                                      Lancaster, PA 17603




                  A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
      whose name and address are: Ronald L. Hicks, Jr., Esq.
                                       Porter Wright Morris &Arthur LLP
                                       6 PPG Place, 3rd Floor
                                       Pittsburgh, PA 15222



             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                                           &/(5.2)&2857
                                                                                                           CLERK OF COURT


      Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of Clerk or Deputy Clerk
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 74 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.       2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with tfie court unless required by Feel. R. Civ. P. 4 (1))

           Thls Summot7s fOP (name of individual a~zd title, if any)

was received by me on (dare)


           CI I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or


           CI I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name of;ndtvid~~a!)                                                                          who is
           designated by law to accept service of process on behalf of (name oforgantZar~on)
                                                                                    on (date)                             or

           ~ I returned the summons unexecuted because                                                                                 or

          O Other (spec):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature




                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 75 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                   Plaintiffs)
                                        v.                                                        Civil Action No.          2:20-cv-966
                      KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  TO: (Defendant 's name and address)            Lawrence County Board of Elections
                                                 c/o L. Edward Alison, Jr., Director -Board of Elections or other person in charge
                                                 430 Court Street
                                                 New Castle, PA 16101




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT
                                                                                                           &/(5.2)&2857

  Date:
                                                                                                                       Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 76 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Ciu P. 4 ([))

           Th1s Summons for (name of individual and title, if any)
was received by me on (dare)

           O I personally served the summons on the individual at (p[oce)
                                                                                    on (dare)                             ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (Home oftndividual)                                                                                who is
           designated by law to accept service of process on behalf of (name oforganr'Zarion)
                                                                                    Ori (dale)                             OC


          ~ I returned the summons unexecuted because                                                                                      or

          ~ Other (spe~tfy):




           My fees are $                           for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 77 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et ai




                                Plaintrff(s)
                                     v.                                                         Civil Action No.           2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Lebanon County Board of Elections
                                               c/o Michael Anderson, Director of Elections and Voter Reg. or other person in charge
                                               Municipal Building, Room 209
                                               400 South 8th Street
                                               Lebanon, PA 17042



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                           &/(5.2)&2857
Date:
                                                                                                                    Signature of Clerk or Deputy Clerk
 06/30/2020                                                                                                 CarinaLoushe
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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 78 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.       2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (1))

           Th15 Summons fOt' (name of individual and title, rf any)

was received by me on (dare)


           O I personally served the summons on the individual at (place)
                                                                                    Ori (date)                            or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there.
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name oftndiv~dual)                                                                              who is
           designated by law to accept service of process on behalf of (name oforgan~Zarr'on)
                                                                                    On (dale)                             or

           ~ I returned the summons unexecuted because                                                                                   or

          O Other (specify):




           My fees are $                           for travel and $                      for services, for a total of $        0.00


           I declare ~mder penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 79 of 136



 AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plaintiffs)
                                       v.                                                        Civil Action No.           2:20-cv-966
                     KATHY BOOCKVAR, et al



                                Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 TO: (Defendant's name and address) Lehigh County Board Of EleCtlOtlS
                                                c/o Timothy Benyo, Chief Clerk Board of Elections or other person in charge
                                                17 S,. 7th Street
                                                Allentown, PA 18101




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                      CLERK OF COURT
                                                                                                           &/(5.2)&2857

 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 80 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966
                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fec~ R. Civ. P. 4 (l))

           This summons for (name of individual and tit/e,     rf any)

was received by me on (dote)

           ~ I personally served the summons on the individual at (place)
                                                                                    OTl (date)                            ; Or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (date)                               ,and mailed a copy to the individual's last known address; or

           O I served the summons on (name of individual)                                                                           WIlO 1S

           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                    Ori (date)                             or

           ~ I returned the summons unexecuted because                                                                                  or

          D Other (specify):




           My fees are $                           for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date`.
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 81 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                Plaintiffs)
                                     v.                                                         Civil Action No.
                                                                                                                             2:20-cv-966
                   KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

To: (Defendanr's name and address) Luzerne County Board of Elections
                                   c/o Shelby Watchilla, Director of Elections or other person in charge
                                   20 N. Pennsylvania Avenue, Suite 207
                                   Wilkes Barre, PA 18701




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                           &/(5.2)&2857
Date:
                                                                                                                    Signature of Clerk or Deputy Clerk

 06/30/2020                                                                                                 CarinaLoushe
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 82 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.        2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           TI11S SUmmOriS fOI' (name of individual and lisle,   if any)
was received by me on (dare)

           ~ I personally served the summons on the individual at (p/ace)
                                                                                   on (date)                             ; or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (Home oftndtvrdual)                                                                                who is
           designated by law to accept service of process on behalf of (name oforgan;zarto„)
                                                                                   Ori (date)                             or

          L~ I returned the summons unexecuted Uecause                                                                                    or

          ~ Other (spe~rfy):




          My fees are $                           for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 83 of 136



  AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                  Plaintrff(s)
                                       v.                                                        Civil Action No.             2:20-cv-966
                      KATHY BOOCKVAR, et al



                                 Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)              Lycoming County Board of Elections
                                                 c/o Forrest K. Lehman, Director of Elections or other person in charge
                                                 48 W. Third Street
                                                 Williamsport, PA 17701




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffls attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                      CLERK OF COURT
                                                                                                        &/(5.2)&2857

 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 84 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                      (This section should not be filet! with the court unless required by Fed. R. Civ. P. 4 (1))

           Th1S SUri1mOriS f01' (name of individual and title,   if any)
was received by me on (dare)


          Q I personally served the summons on the individual at (place)
                                                                                    011 (date)                            ; Or


          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dare)                                ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of individual)                                                                                who is
           designated by law to accept service of process on behalf of (name oforgantzaiion)
                                                                                    on (date)                              or

          ~ I returned the summons unexecuted because                                                                                     ; or

          ~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 85 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                  for the
                                                             Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                Plaintiffs)
                                     v.                                                        Civil Action No.          2:20-cv-966
                   KATHY BOOCKVAR, et al



                              Defendants)


                                                           SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)            McKean County Board of Elections
                                              c/o Lisa M. Pratt, Director of Elections or other person in charge
                                              500 W. Main Street
                                              Smethport, PA 16749




          A lawsuit has been filed against you.

         Within 2 ] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                   CLERK OF COURT
                                                                                                            &/(5.2)&2857

Date:
  06/30/2020                                                                                                 CarinaLoushe
                                                                                                               Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 86 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This SUmmOtts for (name of individual and title, if any)

was received by me on (dare)

           d I personally served the summons on the individual at (place)
                                                                                   on (dare)                            ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (Home oftndrvidual)                                                                               who is
           designated by law to accept service of process on behalf of (name oforga„~Zarton)
                                                                                   on (dale)                             or

          Q I returned the summons unexecuted because                                                                                    or

          ~ Other (spe~;,fy):




          My fees are $                           for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server's signature



                                                                                           Printed name and title




                                                                                               Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 87 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                   Plaintiffs)
                                        v.                                                         Civil Action No. 2:20-cv-966

                      KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  T0: (Defendant 's name and address)            Mercer County Board of Elections
                                                 c/o Jeffrey W. Greenburg, Director of Elections or other person in charge
                                                 5 Mercer County Courthouse
                                                 Mercer, PA 16137




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK  OF COURT


  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 88 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.        2:20-cv-966

                                                     PROOF OF SERVICE
                      (This section shouCd not befiled with the court unless required by Fed. R. Ciu P. 4 (l))

           Th1S SUTnt110nS fOC (name of individual and lisle, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                   Ori (date)                           or

          Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftndrvrdua[)                                                                             who is
           designated by law to accept service of process on behalf of (name oforganizarton)
                                                                                   On (date)                            or

          CJ I returned the summons unexecuted because                                                                                 or

          ~ Other (spec fy):




          My fees are $                           for travel and $                     for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's slgnalure



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 89 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                Plainttff(s)
                                     v.                                                        Civil Action No.            2:20-cv-966
                   KATHY BOOCKVAR, et al



                              Defendants)


                                                            SUMMONS IN A CIVIL ACTION

T0: (Defendant's name and address)             Mifflin County Board of Elections
                                               c/o Pamela Powell, Director of Elections or other person in charge
                                               20 N. Wayn Street
                                               Lewistown, PA 17044




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT

                                                                                                           &/(5.2)&2857
Date:
                                                                                                                    Signature of Clerk or Deputy Clerk

 06/30/2020                                                                                                 CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 90 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           TY1iS SU1ri1T10nS fOP (name of individual and lisle, if any)

was received by me on (dare)

          O I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dote)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of~nd;v;dual)                                                                                 who is
           designated by law to accept service of process on behalf of (name oforgan~Zatron)
                                                                                    Ori (dale)                             or

          ~ I returned the summons unexecuted because                                                                                     ; or

          (~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 91 of 136



    AO 440 (Rev. 06/12) Summons in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                  Western District of Pennsylvania


      DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                    Plaintrff(s)
                                         v.                                                         Civil Action No.          2:20-cv-9662:20-cv-966
                       KATHY BOOCKVAR, et al



                                   Defendants)


                                                                SUMMONS IN A CIVIL ACTION

   To: (Defendant's name        and address) Monroe County Board of Elections
                                             c/o Sarah May Silfee, Director of Elections and Voter Reg. or other person in charge
                                             One Quaker Piaza, Room 105
                                             Stroudsburg, PA 18360




               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
   whose name and address are: Ronald L. Hicks, Jr., Esq.
                                    Porter Wright Morris &Arthur LLP
                                    6 PPG Place, 3rd Floor
                                    Pittsburgh, PA 15222



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                          &/(5.2)&2857
                                                                                                        CLERK  OF COURT


  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 92 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ([))

           Thls summons for (name of individual and title, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    Ori (date)                            or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           Ori (date)                              ,and mailed a copy to the individual's last known address; or

           O I served the summons on („ame of;ndivtdua~)                                                                           who is
           designated by law to accept service of process on behalf of (name oforgan~Zarion)
                                                                                    Ori (date)                            or

           Q I returned the summons unexecuted because                                                                                or

           ~ Other (speci,}y):




          My fees are $                            for travel and $                      for services, for a total of $        0.00


           I declare under penalty of perjury that this i~~formation is true.


Date:
                                                                                                 Server's signature



                                                                                             Printed name and Title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 93 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                  for the
                                                             Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                Plainliff(s)
                                     v.                                                        Civil Action No.          2:20-cv-9662:20-cv-966
                   KATHY BOOCKVAR, et al



                              Defendants)


                                                           SUMMONS IN A CIVIL ACTION

TO: (Defendant's name       and address) Montgomery County Board of Elections
                                         c/o Lee Soitysiak, Chief Clerk, Board of Elections or other person in charge
                                         One Montgomery Plaza, Suite 602
                                         425 Swede Street
                                         Norristown, PA 19401



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Fioor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK&/(5.2)&2857
                                                                                                           OF COURT


Date:
  06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk
  'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 94 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.        2:20-cv-966
                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Th1S SUri1ri10riS fOI' (name of rndivrdual and Lille,   if any)
was received by me on (dare)

          O I personally served the summons on the individual at (place)
                                                                                      Ori (date)                            or

          ~ I left the summons at the individual's residence or usual place of abode with (no„~e)
                                                                        a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftnd;vtdua!)                                                                                 who is
           designated by law to accept service of process on behalf of (name oforgonrzarton)
                                                                                      Ori (date)                            or

          ~ I returned the summons unexecuted because                                                                                      or

          ~ Other (spe~~,ry):




          My fees are $                           for travel and $                         for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                   Server's signature



                                                                                              Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc:
                           Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 95 of 136


       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                  UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                     Western District of Pennsylvania


         DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                       Plaintrff(s)
                                            v.                                                         Civil Action No.

                           KATHY BOOCKVAR, et al
                                                                                                                                  2:20-cv-966



                                      Defendan~(s)


                                                                   SUMMONS IN A CIVIL ACTION

      To: (Defendant's name and address)              Montour County Board of Elections
                                                      c/o Holly Brandon, Director of Elections or other person in charge
                                                      253 Mill Street
                                                      Danville, PA 17821




                  A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
      whose name and address are: Ronald L. Hicks, Jr., Esq.
                                       Porter Wright Morris &Arthur LLP
                                       6 PPG Place, 3rd Floor
                                       Pittsburgh, PA 15222



             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                                           CLERK OF COURT
                                                                                                           &/(5.2)&2857

      Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 96 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                           PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Ciu P. 4 (1))

           Th1S SUn11riOriS fOP (name of individual and title, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (p1o~e)
                                                                                   Ori (dale)                            or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          d I served the summons on (name of individual)                                                                             who is
           designated by law to accept service of process on behalf of („ome oforgantzar;on)
                                                                                   Ori (date)                            or

          ~ I returned the summons unexecuted because                                                                                  ; or

          f~ Other (specify):




          My fees are $                           for travel and $                      for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                           Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 97 of 136



 AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plaintiffs)
                                       v.                                                        Civil Action No.             2:20-cv-9662:20-cv-966
                     KATHY BOOCKVAR, et al



                                Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)             Northampton County Board of Elections
                                                c/o Amy Cozze, Election Director or other person in charge
                                                669 Washington Street, Room 1211
                                                Easton, PA 18042




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                      CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 98 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Th1s Summons for (name of individual and ~it1e, if any)
was received by me on (date)

          O I personally served the summons on the individual at (place)
                                                                                   on (dare)                            ; or

          ~] I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of;ndtviduai)                                                                               who is
           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                   on (date)                             or

          ~ I returned the summons unexecuted because                                                                                    or

          ~ Other (specify):




          My fees are $                           for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server's signature



                                                                                          Printed name and title




                                                                                               Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 99 of 136



 AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plaintiffs)
                                       v.                                                        Civil Action No.            2:20-cv-966
                     KATHY BOOCKVAR, et al



                                Defendants)


                                                             SUMMONS IN A CIVIL ACTION

 TO: (Defendant's name and address)             Northumberland County Board of Elections
                                                c/o Tara Purcell, Director of Elections or other person in charge
                                                320 North Second Street, Suite 1
                                                Sunbury, PA 17801




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                      CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 100 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Ciu P. 4 (1))

           Th15 Summons for (name of individual and true, if any)

was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                             or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          Q I served the summons on (name ofrnd;vtdual)                                                                               who is
           designated by law to accept service of process on behalf of (name oforgantZor~on)
                                                                                    Ori (date)                            or

          O I returned the summons unexecuted because                                                                                    or

          ~ Other (specify):




          My fees are $                            for travel and $                      for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                         Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 101 of 136



      AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                         for the
                                                                    Western District of Pennsylvania


        DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                      Plainlrff(s)
                                           v.                                                         Civil Action No.           2:20-cv-966
                          KATHY BOOCKVAR, et al



                                     Defendants)


                                                                  SUMMONS IN A CIVIL ACTION

     To: (Defendant's name and address) Perry County Board of Elections
                                                     c/o Bonnie Delancey, Director of Elections and Voter Reg. or other person in charge
                                                     Veterans Memorial Building
                                                     25 West Main Street
                                                     P.O. Box 37
                                                     New Bloomfield, PA 17068


                 A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
     whose name and address are: Ronald L. Hicks, Jr., Esq.
                                      Porter Wright Morris &Arthur LLP
                                      6 PPG Place, 3rd Floor
                                      Pittsburgh, PA 15222



            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
     You also must file your answer or motion with the court.



                                                                                                           &/(5.2)&2857
                                                                                                          CLERK  OF COURT


     Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                  Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 102 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (1))

           Thts SUmrilons POt' (name of individual and title, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                   on (dare)                            ; or

           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          d I served the summons on (name oftndrvlduQi)                                                                               who is
           designated by law to accept service of process on behalf of (name oforganiZarton)
                                                                                   on (date)                             or

          ~ I returned the summons unexecuted because                                                                                    or

          ~ Other (specify):




          My fees are $                           for travel and $                     for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                               Server's signa[ure



                                                                                           Printed name and lisle




                                                                                               Server's address

Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 103 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                 Plaintiffs)
                                      v.                                                        Civil Action No.           2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

To: (oefendanr's name and address) Philadelphia County Board of Elections
                                   c/o Garrett Dietz, Supervisor of Elections or other person in charge
                                   Room 142, City Hall
                                   Philadelphia, PA 19107




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. l2 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                       &/(5.2)&2857
                                                                                                    CLERK OF COURT


Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 104 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           Th1S SummOris fOT' (name of individual and title, rf any)

was received by me on (dare)


           O I personally served the summons on the individual at (place)
                                                                                    on (date)                            ; or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name of~ndrvidl~aq                                                                          ,who is
           designated by law to accept service of process on behalf of (name oforgan~Zaiton)
                                                                                    on (date)                            ; or


           ~ I returned the summons unexecuted because                                                                                 or

          O Other (specify):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 105 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the

                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                Plaintiffs)
                                     v.                                                         Civil Action No.          2:20-cv-966
                   KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

To: (oefendanr's name and ~rddress) Pike County Board of Elections
                                    c/o Nadeen Manzoni, Director of Elections or other person in charge
                                    506 Broad Street
                                    Milford, PA 18337




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Fioor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
 06/30/2020                                                                                                 CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 106 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Ciu P. 4 (1))

           TI11S SUIT11710115 f0I' (name of individual and Lille, rf any)

was received by me on (dare)

          ~ I personally served the summons on the individual at (place)
                                                                                     on (dare)                            ; or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                       a person of suitable age and discretion who resides there,
          on (dare)                                ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name ofindividual)                                                                            ,who is
           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                     On (date)                            ; or

          ~ I returned the summons unexecuted because                                                                                   or

          ~ Other (spec;~y):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                            Printed name and title




                                                                                                 Server's address

Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 107 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                 Plaintifj(s)
                                     v.                                                         Civil Action No.          2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendan!(s)


                                                            SUMMONS IN A CIVIL ACTION

TO: (Defendant's name        and address) Potter County Board of Elections
                                          c/o Sandra Lewis, Director of Elections or other person in charge
                                          1 N. Main Street
                                          Coudersport, PA 16915




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                     CLERK OF COURT
                                                                                                           &/(5.2)&2857
Date:
                                                                                                                     Signature of Clerk or Deputy Clerk

06/30/2020                                                                                                  CarinaLoushe
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 108 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This Summons for (name of rndivrdual and title, if any)
was received by me on (date)

           ~ I personally served the summons on the individual at (place)
                                                                                   On (date)                            or

          O I left the summons at the individual's residence or usual place of abode with (Home)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oft„d~vtdua~)                                                                             who is
           designated by law to accept service of process on behalf of (name oforganrzar;on)
                                                                                   on (date)                            or

          ~ I returned the summons unexecuted because                                                                                  or

          d Other (spe~tfy):




          My fees are $                           for travel and $                     for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server's signature



                                                                                          Printed name and title




                                                                                               Server's address

Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 109 of 136



  AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plaintiffs)
                                       v.                                                         Civil Action No.            2:20-cv-966
                     KATHY BOOCKVAR, et al



                                Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 TO: (Defendant's name and address) SChuylklll County Board of EleCtlOns
                                                c/o Frannie Brennan, Director of Elections or other person in charge
                                                420 N. Center Street
                                                Pottsville, PA 17901




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                        &/(5.2)&2857
                                                                                                      CLERK OF COURT


 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 110 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           TI11S SUri1ri701]S f01' (name of indrvrdua! and title,   if any)
was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                       on (dare)                             ; or

          d I left the summons at the individual's residence or usual place of abode with (Home)
                                                                         a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftndtv;duQ1)                                                                                    who is
           designated by law to accept service of process on behalf of (name oforganiZar;on)
                                                                                       Ori (date)                             or

          O I returned the summons unexecuted because                                                                                         or

          ~ Other (specify):




          My fees are $                           for travel and $                          for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server's signature



                                                                                               Printed name and title




                                                                                                    Server's address


Additional information regarding attempted service, etc:
                       Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 111 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                    Plaintrff(s)
                                         v.                                                        Civil Action No.            2:20-cv-966
                       KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

   TO: (Defendant's name and address) Snyder County Board of Elections
                                                   c/o Debbie J. Bigler, Director of Elections or other person in charge
                                                   9 West Market Street
                                                   Middleburg, PA 17842




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



         If you fail to respond, j udgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                                          &/(5.2)&2857
                                                                                                        CLERK  OF COURT


  Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 112 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.        2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           Thls Summons for (name of individual and title, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    011 (date)                            ; Or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           O I served the summons on (name oftnd~vt~tuaq                                                                                who is
           designated by law to accept service of process on behalf of (name ofo~~gan;zarr'on)
                                                                                    Ori (dale)                             or

           O I returned the summons unexecuted because                                                                                     or

           ~ Other (spec):




           My fees are $                           for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                             Primed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                    Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 113 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                    for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                 Plaintiffs)
                                      v.                                                        Civil Action No.           2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)


                                                             SUMMONS IN A CIVIL ACTION

TO: (Defendant ~s name and address)            Somerset County Board of Elections
                                               c/o Tina Pritts, Director of Elections or other person in charge
                                               300 N.. Center Avenue, Suite 340
                                               Somerset, PA 15501




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                     CLERK OF COURT

                                                                                                           &/(5.2)&2857
Date:
                                                                                                                     Signature of Clerk or Deputy Clerk

06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 114 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Ciu P. 4 (1))

           This Summons fOr (name of rndivrdual and title, if any)
was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
          on (date)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftndr'vrduai)                                                                           ,who is
           designated by law to accept service of process on behalf of name oforgantZarton)
                                                                                    on (date)                            ; OI'

          Q I returned the summons unexecuted because                                                                                   or

          ~ Other (spec jy):




          My fees are $                            for travel and $                     for services, for a total of $           0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                             Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 115 of 136



          AO 440 (Rev. 06/12) Summons in a Civil Action


                                                      UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                        Western District of Pennsylvania


            DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                          Plaantiff(s)
                                               v.                                                         Civil Action No.            2:20-cv-9662:20-cv-966
                              KATHY BOOCKVAR, et al



                                         Defendant (s)


                                                                      SUMMONS IN A CIVIL ACTION

         To: (Defendana's name and address) Sullivan County Board of Elections
                                            c/o Hope Verelst, Director of Elections and Voter Reg. or other person in charge
                                            Sullivan County Courthouse
                                            Main and Muncy Streets
                                            Laporte, PA 18626



                     A lawsuit has been filed against you.

                  Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
         are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
         P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
         the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
         whose name and address are: Ronald L. Hicks, Jr., Esq.
                                          Porter Wright Morris &Arthur LLP
                                          6 PPG Place, 3rd Floor
                                          Pittsburgh, PA 15222



                If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
         You also must file your answer or motion with the court.



                                                                                                              CLERK OF COURT
                                                                                                           &/(5.2)&2857

         Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                    Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 116 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.        2:20-cv-966
                                                           PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           Th1S Su]71mOnS f0]' (name of individual and true, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                    on (date)                             ; or

           ~ I left the summons at the individual's residence or usual place of abode with (na,ne)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name oftndrv,du~l)                                                                            ,who is
           designated by law to accept service of process on behalf of (n~~ne oforgan<<arion)
                                                                                    011 (date)                            ; or


          D I returned the summons unexecuted because                                                                                   or

          ~ Other (specify):




           My fees are $                           for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature




                                                                                             Primed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                      Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 117 of 136



   AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                 Western District of Pennsylvania


     DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                   Plaintiffs)
                                        v.                                                        Civil Action No.            2:20-cv-966
                      KATHY BOOCKVAR, et al



                                  Defendants)


                                                               SUMMONS IN A CIVIL ACTION

  T0: (DefendanCs name         and address) Susquehannah County Board of Elections
                                            c/o Macy Rudock, Election Director or other person in charge
                                            31 Lake Avenue
                                            Montrose, PA 18801




              A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are: Ronald L. Hicks, Jr., Esq.
                                   Porter Wright Morris &Arthur LLP
                                   6 PPG Place, 3rd Floor
                                   Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                         &/(5.2)&2857
                                                                                                       CLERK OF COURT


 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 118 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                           PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Thts Summons foY (name of individual and title, if any)

was received by me on (dare)


           ~ I personally served the summons on the individual at (place)
                                                                                   on (dare)                             ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of r'ndividua!)                                                                              W110 1S

           designated by law to accept service of process on behalf of (name oforgan;Zar;on)
                                                                                   Ori (date)                             or

          ~ I returned the summons unexecuted because                                                                                      or

          ~ Other (spe~;,fy):




          My fees are $                           for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                Server's signature




                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 119 of 136



  AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plain[iff(s)
                                        v.                                                        Civil Action No. 2:20-cv-966

                      KATHY BOOCKVAR, et al



                                 Defendan[(s)


                                                              SUMMONS IN A CIVIL ACTION

  To: (Defendant's name and address) Tioga County Board of Elections
                                                 c/o Penny Whipple, Director of Elections or other person in charge
                                                 118 Main Street
                                                 Wellsboro, PA 16901




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT

                                                                                                           &/(5.2)&2857
 Date:
                                                                                                                       Signature of Clerk or Deputy Clerk

06/30/2020                                                                                                  CarinaLoushe
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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 120 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Ciu P. 4 (Z))

           This summons for („ame ofindividua! and title, if any)
was received by me on (dare)

           O I personally served the summons on the individual at (place)
                                                                                   On (date)                            or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                     a person of suitable age and discretion who resides there,
          on (date)                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name oftndrvtdua!)                                                                             who is
           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                   on (date)                            or

          Q I returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




          My fees are $                           for travel and $                     for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server's signature



                                                                                          Printed name and title




                                                                                               Server's address


Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 121 of 136



 AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                    for the
                                                               Western District of Pennsylvania


   DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                 Plaintrff(s)
                                       v.                                                        Civil Action No.              2:20-cv-966
                     KATHY BOOCKVAR, et al



                                Defendants)


                                                             SUMMONS IN A CIVIL ACTION

 TO: (Defendant's name and address)             Union County Board of Elections
                                                c/o Gregory A. Katherman, Chief Election Coordinator or other person in charge
                                                115 Nroth 15th Street
                                                Lewisburg, PA 17837




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                      CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
                                                                                                                      Signature of Clerk or Deputy Clerk
06/30/2020                                                                                                  CarinaLoushe
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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 122 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966

                                                    PROOF OF SERVICE
                     (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                              ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftnd;vrdua!)                                                                            who is
           designated by law to accept service of process on behalf of (name oforgantzorio„)
                                                                                    On (date)                             or

          O 1 returned the summons unexecuted because                                                                                  or

          ~ Other (specify):




          My fees are $                            for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 123 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                    for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                 Plaintiffs)
                                     v.                                                         Civil Action No.           2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)

                                                            SUMMONS IN A CIVIL ACTION

TO: (Defendant     ~s na,ne and address) Venango County Board of Elections
                                         c/o Sabrina Backer, Director of Elections or other person in charge
                                         1174 Elk Street
                                         Franklin, PA 16323




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                       &/(5.2)&2857
                                                                                                    CLERK OF COURT


Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 124 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.      2:20-cv-966
                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           TI11S SutT11710175 fOF (name of individual and title,   if any)
was received by me on (dare)

          17 I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftnd~vtduai)                                                                                  who is
           designated by law to accept service of process on behalf of (name oforganrZarton)
                                                                                      Ol] (date)                            or

          O I returned the summons unexecuted because                                                                                       or

          ~ Other (spec):




          My fees are $                           for travel and $                        for services, for a total of $          0.00


          I declare under penalty of perj ury that this information is true.



Date:
                                                                                                   Server's signature



                                                                                              Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc:
                        Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 125 of 136


    AO 440 (Rev. 06/12) Summons in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                        for the
                                                                  Western District of Pennsylvania


      DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                     Plaintiffs)
                                          v.                                                        Civil Action No.           2:20-cv-966
                        KATHY BOOCKVAR, et al



                                   Defendants)


                                                                SUMMONS IN A CIVIL ACTION

    TO: (Defendant ~s name and address)            Warren County Board of Elections
                                                   c/o Lisa Rivett, Director of Elections or other person in charge
                                                   204 4th Avenue
                                                   Warren, PA 16365




               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
   whose name and address are: Ronald L. Hicks, Jr., Esq.
                                    Porter Wright Morris &Arthur LLP
                                    6 PPG Place, 3rd Floor
                                    Pittsburgh, PA 15222



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                                         CLERK OF COURT
                                                                                                           &/(5.2)&2857

   Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                  Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 126 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.         2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           Th1S SulTlrilOris fOI' (name of individual and 1rtle,   if any)
was received by me on (dare)

           Q I personally served the summons on the individual at (place)
                                                                                      Ori (date)                           or

          7 1 left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
          on (dared                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name of tndtvtdual)                                                                               who is
           designated by law to accept service of process on behalf of name oforgantZar~on)
                                                                                      Ori (date)                           or

          ~ I returned the summons unexecuted because                                                                                     or

          Q Other (spe~;,fy):




          My fees are $                           for travel and $                        for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                              Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 127 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                Plaintiffs)
                                     v.                                                        Civil Action No.            2:20-cv-9662:20-cv-966
                   KATHY BOOCKVAR, et al



                              Defendant (s)


                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Washington County Board of Elections
                                   c/o Melanie R. Ostrander, Director of Elections or other person in charge
                                   100 W. Beau Street, Suite 206
                                   Washington, PA 15301




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                       &/(5.2)&2857
                                                                                                    CLERK OF COURT


Date:
 06/30/2020                                                                                                 CarinaLoushe
                                                                                                               Signature of Gerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 128 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.         2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This Summons for (name of indivrdua[ and title, rf any)

was received by me on (dare)

           ~ I personally served the summons on the individual at (place)
                                                                                    on (dare)                             ; or


           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          O I served the summons on (name ofind~vidual)                                                                             who is
           designated by law to accept service of process on behalf of (name oforganizarion)
                                                                                    Ori (date)                             or

          O I returned the summons unexecuted because                                                                                   or

          ~ Other (specify):




           My fees are $                           for travel and $                      for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                   Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 129 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                   for the
                                                              Western District of Pennsylvania


  DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                Plaintiffs)
                                     v.                                                         Civil Action No.
                                                                                                                            2:20-cv-966
                    KATHY BOOCKVAR, et al



                               Defendants)


                                                            SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)            Wayne County Board of Elections
                                              c/o Cindy Furman, Director of Elections or other person in charge
                                              925 Court Street
                                              Honesdale, PA 18431




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald L. Hicks, Jr., Esq.
                                 Porter Wright Morris &Arthur LLP
                                 6 PPG Place, 3rd Floor
                                 Pittsburgh, PA 15222



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                    CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:

06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk


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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 130 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Ciu P. 4 (l))

           TI11S SUri]ri10riS fOP (name of individual and title,   if any)
was received by me on (dare)

           Q I personally served the summons on the individual at (place)
                                                                                      Ori (date)                            or

          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name oftndtvrduaq                                                                                  who is
           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                      OI] (date)                            or

          ~ I returned the summons unexecuted because                                                                                     ; or

          ~ Other (specify):




          My fees are $                           for travel and $                         for services, for a total of $        0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                              Printed name and title




                                                                                                   Server's address

Additional information regarding attempted service, etc:
                          Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 131 of 136


       AO 440 (Rev. 06/12) Summons in a Civil Action


                                                   UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                     Western District of Pennsylvania


         DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                       Plaintiffs)
                                            v.                                                         Civil Action No.            2:20-cv-966
                           KATHY BOOCKVAR, et al



                                     Defendants)


                                                                   SUMMONS IN A CIVIL ACTION

      TO: (Defendant's name and address) Westmoreland County Board of Elections
                                                     c/o Beth Lechman, Director or other person in charge
                                                     2 N. Main Street
                                                     Greensburg, PA 15601




                  A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule ] 2 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
      whose name and address are: Ronald L. Hicks, Jr., Esq.
                                       Porter Wright Morris &Arthur LLP
                                       6 PPG Place, 3rd Floor
                                       Pittsburgh, PA 15222



             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                                           CLERK OF COURT
                                                                                                           &/(5.2)&2857

     Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                   Signature of Clerk or Deputy Clerk

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                 Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 132 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-966

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ([))

           TI11S SUri11riOI1S fOT (name of individual and 1ille,   if any)
was received by me on (dare)

          Q I personally served the summons on the individual at (place)
                                                                                      ott (date)                            or

          Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
          on (dare)                               ,and mailed a copy to the individual's last known address; or

          I~ I served the summons on (name of;f,d~vtduQ!)                                                                               who is
           designated by law to accept service of process on behalf of (name oforgantZarton)
                                                                                      011 (date)                            or

          ~ I returned the summons unexecuted because                                                                                      or

          ~ Other (spec fy):




          My fees are $                           for travel and $                         for services, for a total of $        0.00

          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                              Printed name and title




                                                                                                   Server's address

Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 133 of 136


  AO 440 (Rev. 06/12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al




                                  Plaintiffs)
                                       v.                                                        Civil Action No.            2:20-cv-966
                     KATHY BOOCKVAR, et al



                                 Defendants)


                                                              SUMMONS IN A CIVIL ACTION

 To: (Defendanr's name and address) Wyoming County Board of Elections
                                    c/o Florence Kellett, Director of Elections or other person in charge
                                    1 Courthouse Square
                                    Tunkahannock, PA 18657




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                      CLERK OF COURT
                                                                                                           &/(5.2)&2857

Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 134 of 136


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.          2:20-cv-966
                                                            PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (1))

           Th1S Summons fol' (name of individual and title, rf may)

was received by me on (dare)


           ~ I personally served the summons on the individual at (p~u~e)
                                                                                    On (date)                             ; Or


           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

           ~ I served the summons on (name o~ indlv,d~~n[)                                                                              who is
           designated by law to accept service of process on behalf of (name oforgantZarion)
                                                                                    Ori (date)                             OC


          ~ I returned the summons unexecuted because                                                                                      or

          O Other (spe~~fy):




          My fees are $                            for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                 Server's signature



                                                                                             Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc:
                     Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 135 of 136


  AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                Western District of Pennsylvania


    DONALD J. TRUMP FOR PRESIDENT, INC., et al



                                   Plaintiffs)
                                        v.                                                        Civil Action No.
                      KATHY BOOCKVAR, et al                                                                                   2:20-cv-966



                                 Defendants)


                                                              SUMMONS IN A CIVIL ACTION

  To: (Defendanr's name and address)             YOI'k County B081'd Of EleCtlO~s
                                                 c/o Steve Ulrich, Director or other person in charge
                                                 28 E. Market Street
                                                 York, PA 17409




             A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: Ronald L. Hicks, Jr., Esq.
                                  Porter Wright Morris &Arthur LLP
                                  6 PPG Place, 3rd Floor
                                  Pittsburgh, PA 15222



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                       CLERK OF COURT
                                                                                                           &/(5.2)&2857

 Date:
06/30/2020                                                                                                  CarinaLoushe
                                                                                                                 Signature of Clerk or Deputy Clerk

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                  Case 2:20-cv-00966-NR Document 3 Filed 06/30/20 Page 136 of 136



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-966

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Z'h1S SUri71T10I1S fOC (name of individual and title, if any)

was received by me on (dare)

           Q I personally served the summons on the individual at (place)
                                                                                    on (dare)                            ; or

           ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (dare)                               ,and mailed a copy to the individual's last known address; or

          Q I served the summons on (na,ne ofrnd~vtdt~al)                                                                          who is
           designated by law to accept service of process on behalf of (name oforganiZa~ion)
                                                                                    on (date)                             or

           ~ I returned the summons unexecuted because                                                                                 or

          O Other (spec):




           My fees are $                           for travel and $                     for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                            Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
